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FFY_ED :3`.“' ___'}(\ _` ;_‘j_{;_

|N THE UN|TED STATES DlSTFt|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTEF`{N D|V|S|ON

 

 

UN|TED STATES OF ANIEFi|CA
P|aintitf,

VS.
Cl:ll NO. O4-20177-B

GEFtALD RAYBORN

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Nlarch 24, 2005. At that time, counsel for
the defendant requested a continuance of the trial date.
The Court granted the request and set the trial date for N|onday, Ju|y11, 2005 at
9:30 a.m._ in Courtroom 1. 11th F|oor of the Federal Bui|ding, |V|emphis, TN.
7 The period from May 31 , 2005 through July 15, 2005 is excludable under 18 U.S.C.
§ 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

iT is so oFiDERED this 1210 clay or wl y, 2005.

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J A lEL BF{EEN
NlT D STATES D|STR|CT JUDGE

 

 

ms documeth entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
ease 2:04-CR-20177 Was distributed by faX, mail, or direct printing on
May ]7, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

